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                                 5     Northridge, California 91324
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                                 7     Attorney for Plaintiffs
                                       Dual Diagnosis Treatment Center, Inc., Satya
                                 8     Health of California, Inc., Adeona Healthcare, Inc.,
                                       Sovereign Health of Phoenix, Inc., Sovereign
                                 9     Asset Management, Inc., and Medical Concierge,
                                       Inc.
                               10
                               11                                UNITED STATES DISTRICT COURT
                               12                 CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
Northridge, California 91324




                               13
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                               14      DUAL DIAGNOSIS TREATMENT                       Case No. 8:15-cv-00736-DOC-DFM
                                       CENTER, INC., a California
                               15      corporation, et al.,                           Hon. David O. Carter
                               16                       Plaintiffs,                   JOINT RULE 26(f) REPORT
                               17         vs.                                         Sch. Conf.: Sept. 24, 2018 at 8:30 am
                               18      BLUE CROSS OF CALIFORNIA, dba                  Trial Date: None Set
                                       ANTHEM BLUE CROSS, et al.,
                               19
                                                        Defendants.
                               20
                               21                 Pursuant to Federal Rule of Civil Procedure 26(f), the following is a report
                               22      regarding the Conference of the parties held between Lisa S. Kantor, Alan E. Kassan
                               23      and Elizabeth Hopkins of Kantor & Kantor, LLP on behalf of Plaintiffs, and Eileen
                               24      R. Ridley and Alan R. Ouellette of Foley & Lardner LLP, Carol B. Lewis of Von
                               25      Behren and Hunter LLP, and Kenneth R. O’Rourke of O’Melveny and Myers LLP,
                               26      on behalf of the Defense Counsel Coordinating Group.
                               27                 Counsel met and conferred to consider the nature and basis of their claims and
                               28      defenses, the possibilities and strategies for prompt settlement or mediated
                                                                                     1
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                                 1     resolution of the case, and to develop a proposed discovery plan considering the
                                 2     objectives of the various parties. From that meeting the parties submit the following
                                 3     report:
                                 4                1.    SHORT FACTUAL SUMMARY OF THE CASE
                                 5                Plaintiffs are members of the Sovereign Health Group of companies, which
                                 6     provide behavioral health treatment services to patients in California, and other
                                 7     states. Plaintiffs allege that they provided such services to the former patients
                                 8     identified in the Third Amended Complaint who possessed health insurance
                                 9     coverage for some or all of Plaintiffs’ services through employer-sponsored health
                               10      and welfare plans governed by ERISA. Such coverage was allegedly provided or
                               11      administered by Defendants.
                               12                 Defendants are the ERISA-governed health and welfare plans under which
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                               13      Plaintiffs’ former patients were allegedly covered (“Welfare Plan Defendants”), and
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                               14      the Blue Cross Blue Shield Association independent licensees that served as insurers
                               15      and/or administrators of these plans (“Blue Cross Defendants”). Plaintiffs are
                               16      alleged to be “out-of-network” providers with regard to the Blue Cross Defendants,
                               17      meaning that they have no direct contractual relationship. Each of the former
                               18      patients identified in the Third Amended Complaint is alleged to have sought
                               19      treatment covered by a Welfare Plan Defendant that was insured or administered by
                               20      a Blue Cross Defendant. Plaintiffs contend that the Defendants processed patient
                               21      treatment claims and then paid claim benefits directly to the patients in direct
                               22      contravention of the written “assignments” of benefits, of which they allegedly had
                               23      notice, which required payment to Plaintiffs. Defendants contend, inter alia, that
                               24      their ERISA Plan documents prohibited assignments of benefits, that Defendants
                               25      were not properly informed of the assignments, or that Plaintiffs were able to
                               26      recover the payments from their patients and are thus not owed any money, or
                               27      substantially less than the amounts Plaintiffs seek.
                               28      ///
                                                                                  2
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                                 1                 2.      LEGAL ISSUES
                                 2                The legal issues to be decided by the Court include:
                                 3                Plaintiffs’ Legal Issues:
                                 4                 a) Whether Defendants violated the assignments of benefits by paying the
                                 5                      assignor-patients instead of the Plaintiff-assignees, for all of the claims
                                 6                      alleged in the Third Amended Complaint.
                                 7                 Defendants’ Legal Issues:
                                 8                 a) Whether the plan documents prohibit the assignment of the right to
                                 9                      receive direct payment to Plaintiffs and/or specifically provide for the
                               10                       manner as to whom covered claims will be paid.
                               11                  b) Whether Plaintiffs’ alleged assignments encompass the claim and relief
                               12                       sought by Plaintiffs in the Third Amended Complaint.
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                               13                  c) Whether Defendants were obligated to render performance to Plaintiffs
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                               14                       under Plaintiffs’ purported assignments.
                               15                  d) Whether the Plaintiffs or their patients exhausted administrative remedies.
                               16                  e) Whether Plaintiffs were reimbursed directly or indirectly for their services
                               17                       or otherwise collected amounts allegedly paid to Defendants’ members.
                               18                  f) Whether Defendants were given sufficient notice of the existence of the
                               19                       purported assignments and whether Defendants discharged any purported
                               20                       obligations by making payments to members.
                               21                  g) Whether Plaintiffs can substantiate the alleged entitlement to recover the
                               22                       amounts purportedly owed where (i) there is no record of Plaintiffs' having
                               23                       submitted claims for certain of the benefits; or (ii) the allowed amounts on
                               24                       the particular claims are less than the amount purportedly owed.
                               25                  h) Whether certain particular claims arise from health plans that are not
                               26                       governed by ERISA.
                               27                  3.      JOINDER OF PARTIES AND AMENDMENTS TO PLEADINGS
                               28                  The parties do not intend to add additional parties, and do not anticipate
                                                                                         3
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                                 1     seeking to amend their pleadings.
                                 2                4.    ISSUES WHICH MAY BE DECIDED BY MOTION
                                 3                Defendants, or some of them, may decide to bring dispositive motions on the
                                 4     legal issues set forth above, which Defendants believe may be ripe for an
                                 5     adjudication by way of summary adjudication/judgment.
                                 6                Plaintiffs and Defendants are working through the issues related to limited
                                 7     discovery and hope to avoid discovery motions, but all parties reserve the right to
                                 8     bring such motions should the same become necessary.
                                 9                5.    SETTLEMENT DISCUSSIONS AND PROSPECTS
                               10                 Some of the parties have begun to discuss settlement and are developing
                               11      strategies for direct negotiations or mediation. All parties agree that they will
                               12      consider mediation in order to avoid protracted litigation and agree to private
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                               13      mediation pursuant to Local Rule 16.4. The parties will attempt to conduct
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                               14      mediations of the over one hundred different patient claims in this matter, and
                               15      anticipate that it will take approximately four to six months to conduct those
                               16      mediations. The parties further anticipate that some of the claim matters will not be
                               17      ripe for mediation until some discovery has been completed. Accordingly, the
                               18      parties request that no mediation cut-off date be set until they have further
                               19      opportunity to exchange documents and conduct informal talks amongst themselves.
                               20                 6.    DISCOVERY PLAN AND LIMITATIONS
                               21                 The parties exchanged their Rule 26 Initial Disclosures on August 13, 2018.
                               22      With said disclosures, Plaintiffs provided Defendants the documents Plaintiffs have
                               23      in their possession related to each individual patient named in the Third Amended
                               24      Complaint, for claims that have not been dismissed since the Complaint was filed.
                               25      Some Defendants provided documents with their Disclosures, some did not, and
                               26      others are in the process of gathering documents to produce. Further, Defendants
                               27      made a substantial volume of plan documents available to the Plaintiffs in
                               28      connection with the briefing on Defendants’ motions to dismiss. Plaintiffs also
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                                 1     served a simple Request for Production of Documents on all Defendants on August
                                 2     14, 2018. Some Defendants will serve written discovery prior to the Scheduling
                                 3     Conference.
                                 4                Aside from the foregoing, the parties agree that this matter should not be
                                 5     discovery intensive and hope that limited discovery will suffice. The parties
                                 6     primarily require the exchange and/or discovery of documents and information
                                 7     related to the assignments of benefits, notice of same, billing and collection of claim
                                 8     benefits/payments, and ERISA Plan document provisions related to benefit payment
                                 9     terms and benefit assignments.
                               10                 Accordingly, all parties reserve the right to serve written discovery or to take
                               11      depositions concerning these matters, or other matters related thereto or that may
                               12      develop during the course of litigation. The parties likewise reserve all rights to
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                               13      object to discovery and agree to meet and confer in good faith to resolve any
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                               14      disputes should they arise concerning the appropriateness of certain categories of
                               15      discovery or the scope of permissible discovery.
                               16                 7.    TRIAL
                               17                 This is an ERISA action, so trial will be to the Court. Plaintiffs expect 4-6
                               18      days of bench trial assuming the issues can be consolidated as between the
                               19      numerous Defendants. Defendants anticipate that the number of parties, individual
                               20      claims and issues will necessitate a 5-10 day bench trial. The length of trial will
                               21      depend in large part on how many Defendants and patients/patient claims remain in
                               22      the case at time of trial.
                               23                 8.    OTHER ISSUES
                               24                 Because this is an ERISA matter, which will likely involve limited evidence
                               25      at trial, with little or no testimony from live witnesses, the parties propose that the
                               26      Court waive pre-trial proceedings, as such proceedings would represent an
                               27      unnecessary use of judicial and litigant resources.
                               28
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                                 1                9.   PROPOSED DATES
                                 2                       Event                                      Date
                                 3     Initial Disclosures Due                    Exchanged August 13, 2018
                                 4     Deadline to Conduct                        To be later determined
                                 5     Mediation/Settlement Conference

                                 6     Discovery Cut-off                          Monday August 5, 2019

                                 7     Motion Filing Deadline                     Monday October 2, 2019

                                 8     Motion Hearing Deadline                    Monday, November 4, 2019

                                 9     Last Day to File Opening Trial Briefs      Monday February 10, 2020

                               10      Last Day to File Responsive Trial Briefs   Monday March 9, 2020

                               11      Trial                                      Tuesday April 7, 2020

                               12                                                  Respectfully submitted,
Northridge, California 91324




                               13      DATED: September 10, 2018                   KANTOR & KANTOR, LLP
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                               14
                               15                                                  By: /s/ Alan E. Kassan
                                                                                       Lisa S. Kantor,
                               16                                                      Alan E. Kassan
                                                                                       Timothy R. Rozelle
                               17                                                      Attorneys for Plaintiffs
                                                                                       Dual Diagnosis Treatment Center,
                               18                                                      Inc., Satya Health of California, Inc.,
                                                                                       Adeona Healthcare, Inc., Sovereign
                               19                                                      Health of Phoenix, Inc., Sovereign
                                                                                       Asset Management, Inc., and
                               20                                                      Medical Concierge, Inc.
                               21      DATED: September 10, 2018               FOLEY & LARDNER LLP
                                                                               Eileen R. Ridley
                               22                                              Alan R. Ouellette
                               23
                               24
                               25                                          /s/ Eileen R. Ridley
                                                                           Eileen R. Ridley
                               26                                          Attorneys for Defendants BLUE CROSS OF
                                                                           CALIFORNIA, dba ANTHEM BLUE
                               27                                          CROSS, ANTHEM HEALTH PLANS, INC.,
                                                                           dba ANTHEM BLUE CROSS AND BLUE
                               28                                          SHIELD, ANTHEM HEALTH PLANS OF
                                                                                6
                                                                   JOINT RULE 26(f) REPORT
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                                 1                                     KENTUCKY, INC., dba ANTHEM BLUE
                                                                       CROSS AND BLUE SHIELD, ANTHEM
                                 2                                     INSURANCE COMPANIES, INC., dba
                                                                       ANTHEM BLUE CROSS AND BLUE
                                 3                                     SHIELD, COMMUNITY INSURANCE
                                                                       COMPANY, dba ANTHEM BLUE CROSS
                                 4                                     AND BLUE SHIELD, EMPIRE HEALTH
                                                                       CHOICE ASSURANCE, INC., dba EMPIRE
                                 5                                     BLUE CROSS AND BLUE SHIELD,
                                                                       ROCKY MOUNTAIN HOSPITAL AND
                                 6                                     MEDICAL SERVICE, INC., dba ANTHEM
                                                                       BLUE CROSS AND BLUE SHIELD,
                                 7                                     ANTHEM HEALTH PLANS OF VIRGINIA,
                                                                       INC., BLUE CROSS AND BLUE SHIELD
                                 8                                     OF GEORGIA, INC., BLUE CROSS BLUE
                                                                       SHIELD OF WISCONSIN, erroneously sued
                                 9                                     as THE ANTHEM COMPANIES, INC.,
                                                                       ACWA/JPIA EMPLOYEE BENEFITS
                               10                                      PROGRAM, BLOOMBERG L.P. HEALTH
                                                                       AND WELFARE PLAN, CNS HEALTH
                               11                                      AND WELFARE BENEFITS PLAN, ERNST
                                                                       & YOUNG MEDICAL PLAN, FERGUSON
                               12                                      ENTERPRISES INC. FLEXIBLE BENEFITS
                                                                       PLAN, FOLLETT CORPORATION
Northridge, California 91324




                               13                                      WELFARE BENEFIT PLAN, erroneously
 KANTOR & KANTOR LLP
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                                                                       sued as FOLLETT CORPORATION
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                               14                                      EMPLOYEES BENEFIT TRUST, INTEL
                                                                       CORPORATION HEALTH AND
                               15                                      WELFARE BENEFIT PLAN, LIVE
                                                                       NATION ENTERTAINMENT, INC. GROUP
                               16                                      BENEFITS PLAN, NORTHROP
                                                                       GRUMMAN CORPORATION GROUP
                               17                                      BENEFITS PLAN, PEAK FINANCE
                                                                       COMPANY GROUP HEALTH PLAN,
                               18                                      PEPSICO EMPLOYEE HEALTH CARE
                                                                       PROGRAM, SHEET METAL WORKERS
                               19                                      LOCAL NO. 40 HEALTH FUND, THE
                                                                       AEROSPACE CORPORATION GROUP
                               20                                      HOSPITAL-MEDICAL PLAN, THE STEAK
                                                                       N SHAKE EMPLOYEE BENEFIT PLAN,
                               21                                      VIASAT INC. EMPLOYEE BENEFIT
                                                                       PLAN and XEROX CORPORATION
                               22                                      WELFARE PLAN
                               23
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                                                             JOINT RULE 26(f) REPORT
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                                 1     DATED: September 10, 2018       VON BEHREN AND HUNTER LLP
                                                                       William E. von Behren
                                 2                                     Carol B. Lewis
                                 3                                     Joann V. Lee
                                                                       Cindy N. Mader
                                 4
                                 5
                                 6                                    /s/ William E. von Behren
                                                                      William E. von Behren
                                 7                                    Attorneys for Defendants ALASKA AIR
                                                                      GROUP, INC. WELFARE BENEFIT PLAN,
                                 8                                    ASANTE EMPLOYEE BENEFITS PLAN,
                                                                      BLUE CROSS BLUE SHIELD OF
                                 9                                    TENNESSEE, INC., BLUE CROSS AND
                                                                      BLUE SHIELD OF FLORIDA, INC. d/b/a
                               10                                     FLORIDA BLUE., BLUE CROSS AND
                                                                      BLUE SHIELD OF NORTH CAROLINA,
                               11                                     BLUE CROSS OF NORTHEASTERN
                                                                      PENNSYLVANIA, CALIFORNIA
                               12                                     PHYSICIANS SERVICE d/b/a BLUE
                                                                      SHIELD OF CALIFORNIA, CHICOS FAS,
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                               13                                     INC. HEALTH & WELFARE BENEFIT
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                                                                      PLAN, EXCELLUS HEALTH PLAN, INC.,
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                               14                                     F.N.B. CORPORATION HEALTH AND
                                                                      WELFARE PLAN, F5 NETWORKS, INC.
                               15                                     EMPLOYEE BENEFIT PLAN, GENERAL
                                                                      NUTRITION GROUP INSURANCE PLAN,
                               16                                     HIGHMARK BCBSD, INC., HIGHMARK
                                                                      BLUE CROSS BLUE SHIELD,
                               17                                     HIGHMARK BLUE SHIELD,
                                                                      HIGHMARK, INC. d/b/a HIGHMARK
                               18                                     BLUE SHIELD, HORIZON HEALTHCARE
                                                                      SERVICES, INC. d/b/a HORIZON BLUE
                               19                                     CROSS BLUE SHIELD OF NEW JERSEY,
                                                                      INLANDBOATMENS UNION OF THE
                               20                                     PACIFIC NATIONAL HEALTH BENEFIT
                                                                      TRUST, INTERRAIL SIGNALS, INC.
                               21                                     WELFARE BENEFIT PLAN, LOUISIANA
                                                                      HEALTH SERVICE & INDEMNITY
                               22                                     COMPANY BLUE CROSS AND BLUE
                                                                      SHIELD OF LOUISIANA, MARTIN
                               23                                     MARIETTA MEDICAL PLAN, NATURES
                                                                      PATH FOODS, INC. WELFARE BENEFIT
                               24                                     PLAN, NORTHERN CALIFORNIA SHEET
                                                                      METAL WORKERS, NOVARTIS
                               25                                     CORPORATION WELFARE BENEFIT
                                                                      PLAN, PEAK 10, INC. EMPLOYEE
                               26                                     BENEFIT PLAN, PREMERA BLUE
                                                                      CROSS, PREMERA BLUE CROSS BLUE
                               27                                     SHIELD OF ALASKA, PROFIT INSIGHT
                                                                      HOLDINGS LLC GROUP HEALTH PLAN,
                               28                                     RAYONIER, INC. WELFARE PLANS,
                                                                          8
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                                 1                                     REGENCE BLUECROSS BLUESHIELD
                                                                       OF OREGON, erroneously sued herein as
                                 2                                     REGENCE INSURANCE HOLDING
                                                                       CORPORATION; REGENCE BLUECROSS
                                 3                                     BLUESHIELD OF UTAH, erroneously sued
                                                                       herein as REGENCE INSURANCE
                                 4                                     HOLDING CORPORATION; REGENCE
                                                                       BLUESHIELD erroneously sued herein as
                                 5                                     REGENCE INSURANCE HOLDING
                                                                       CORPORATION, SPOKANE TEACHERS
                                 6                                     CREDIT UNION EMPLOYEE MEDICAL
                                                                       & DENTAL PLAN, TRINET EMPLOYEE
                                 7                                     BENEFIT INSURANCE PLAN, UNITED
                                                                       STATES STEEL PLAN FOR ACTIVE
                                 8                                     EMPLOYEE INSURANCE BENEFITS,
                                                                       U.S. RENAL CARE, INC., WELLMARK
                                 9                                     OF SOUTH DAKOTA, INC. and
                                                                       WELLMARK, INC.
                               10
                               11
                                       DATED: September 10, 2018       REED SMITH LLP
                               12                                      Dan J. Hofmeister, Jr.
                                                                       Amir Shlesinger
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                               14
                               15
                                                                       /s/ Dan J. Hofmeister, Jr.
                               16                                      Dan J. Hofmeister, Jr.
                                                                       Attorneys for Defendants BCBSM, INC. D/B/A
                               17                                      BLUE CROSS BLUE SHIELD OF
                                                                       MINNESOTA AND BLUE CROSS OF
                               18                                      IDAHO HEALTH SERVICE, INC., J.R.
                                                                       SIMPLOT COMPANY GROUP HEALTH
                               19                                      & WELFARE PLAN, ALBERTSON’S LLC
                                                                       HEALTH & WELFARE PLAN, TWIN
                               20                                      CITIES BAKERY DRIVERS HEALTH &
                                                                       WELFARE PLAN, METAL-MATIC, INC.
                               21                                      WELFARE BENEFIT PLAN, ST. LUKE’S
                                                                       LUTHERAN CARE CENTER EMPLOYEE
                               22                                      HEALTH CARE PLAN, MDU
                                                                       RESOURCES GROUP, INC. HEALTH
                               23                                      AND WELFARE BENEFITS PROGRAM,
                                                                       EMPLOYEES’ BENEFIT PLAN OF
                               24                                      GENERAL MILLS, INC., CARGILL,
                                                                       INCORPORATED & PARTICIPATING
                               25                                      AFFILIATES GROUP HEALTH PLAN, and
                                                                       TRANSPORT CORPORATION OF
                               26                                      AMERICA, INC. EMPLOYEE HEALTH
                                                                       AND WELFARE BENEFIT PLAN
                               27
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                                 1     DATED: September 10, 2018        O’MELVENY AND MYERS LLP
                                                                        Kenneth R. O’Rourke
                                 2                                      Matthew W. Close
                                 3                                      Raymond Collins Kilgore

                                 4
                                 5
                                                                        /s/ Kenneth R. O’Rourke
                                 6                                      Kenneth R. O’Rourke
                                                                        Attorneys for Defendants ACTIVE POWER,
                                 7                                      INC. HEALTH AND WELFARE PLAN,
                                                                        BAXTER INTERNATIONAL INC. AND
                                 8                                      SUBSIDIARIES WELFARE BENEFIT
                                                                        PLAN, CONSOLIDATED GRAPHICS,
                                 9                                      INC. GROUP BENEFITS PLAN, DELTA
                                                                        KAPPA GAMMA SOCIETY
                               10                                       INTERNATIONAL HEALTH BENEFIT
                                                                        PLAN, DIRT FREE FLOOD SERVICES
                               11                                       INC. HEALTH BENEFIT PLAN, ELLIOTT
                                                                        ELECTRIC SUPPLY, L.P. HEALTH
                               12                                       BENEFIT PLAN, GROUP HEALTH &
                                                                        WELFARE BENEFITS PLAN OF
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                               13                                       AMERICAN EAGLE AIRLINES, INC. &
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                                                                        ITS AFFILIATES, H.E. BUTT GROCERY
       (818) 886 2525




                               14                                       COMPANY WELFARE BENEFIT PLAN,
                                                                        HEALTH CARE SERVICE
                               15                                       CORPORATION, A MUTUAL LEGAL
                                                                        RESERVE COMPANY d/b/a BLUECROSS
                               16                                       BLUESHIELD OF ILLINOIS,
                                                                        BLUECROSS BLUESHIELD OF
                               17                                       MONTANA, BLUECROSS BLUESHIELD
                                                                        OF NEW MEXICO, BLUECROSS
                               18                                       BLUESHIELD OF OKLAHOMA, and/or
                                                                        BLUECROSS BLUESHIELD OF TEXAS,
                               19                                       IESI CORPORATION EMPLOYEE
                                                                        WELFARE BENEFITS PLAN, ION
                               20                                       GEOPHYSICAL CORPORATION GROUP
                                                                        HEALTH PLAN, PIONEER ENERGY
                               21                                       SERVICES CORP. GROUP HEALTH
                                                                        PLAN, RANDALL S. FUDGE P.C.
                               22                                       EMPLOYEE BENEFITS PLAN,
                                                                        SOUTHWEST SHIPYARD, L.P.
                               23                                       CAFETERIA PLAN, TENET EMPLOYEE
                                                                        BENEFIT PLAN, THE GROUP LIFE AND
                               24                                       HEALTH BENEFITS PLAN FOR
                                                                        EMPLOYEES OF PARTICIPATING AMR
                               25                                       CORPORATION SUBSIDIARIES,
                                                                        UNITED SURGICAL PARTNERS, INTL
                               26                                       WELFARE BENEFIT PLAN and XEROX
                                                                        BUSINESS SERVICES, LLC FUNDED
                               27                                       WELFARE BENEFIT PLAN
                               28
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                                                              JOINT RULE 26(f) REPORT
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                                 1     DATED: September 10, 2018        GORDON AND REES LLP
                                                                        Shannon L. Ernster
                                 2                                      Ronald K. Alberts
                                 3                                      Jennifer Marks Ghozland

                                 4
                                 5
                                                                        /s/ Shannon L. Ernster
                                 6                                      Shannon L. Ernster
                                                                        Attorneys for Defendant ALLTECH, INC.
                                 7                                      BENEFIT PLAN
                                 8
                                 9
                                       DATED: September 10, 2018        MORGAN LEWIS AND BOCKIUS LLP
                               10                                       Donald L. Havermann
                                                                        Justin Hanassab
                               11
                               12
Northridge, California 91324




                               13
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                                                                        /s/ Donald L. Havermann
  19839 Nordhoff Street




                                                                        Donald L. Havermann
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                               14                                       Attorneys for Defendants BIMBO
                                                                        BAKERIES USA HEALTH AND
                               15                                       WELFARE PLAN and OWENS-ILLINOIS,
                                                                        INC. HOURLY EMPLOYEES WELFARE
                               16                                       BENEFIT PLAN FOR ACTIVE
                                                                        EMPLOYEES
                               17
                               18
                               19      DATED: September 10, 2018        LAW OFFICES OF RONALD S.
                                                                        KRAVITZ
                               20                                       Ronald S. Kravitz
                               21
                               22
                                                                        /s/ Ronald S. Kravitz
                               23                                       Ronald S. Kravitz
                                                                        Attorneys for Defendant WELLS FARGO &
                               24                                       CO. HEALTH PLAN
                               25
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                                                              JOINT RULE 26(f) REPORT
                               4846-1314-9041.2
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                                                                 #:97245


                                 1     DATED: September 10, 2018        NEIL J. BARKER APC
                                                                        Neil J. Barker
                                 2
                                 3
                                 4                                      /s/ Neil J. Barker
                                 5                                      Neil J. Barker
                                                                        Attorneys for Defendants BLUE CROSS
                                 6                                      AND BLUE SHIELD OF ALABAMA and
                                                                        MUELLER WATER PRODUCTS, INC.
                                 7                                      FLEXIBLE BENEFITS PLAN
                                 8
                                 9
                                       DATED: September 10, 2018        BRYAN CAVE LLP
                               10                                       William B. Brockman
                                                                        Christopher L. Dueringer
                               11                                       Nancy Franco
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  19839 Nordhoff Street




                                                                        /s/ William B. Brockman
       (818) 886 2525




                               14                                       William B. Brockman
                               15                                       Attorneys for Defendant MEDIANEWS
                                                                        GROUP WELFARE BENEFITS PLAN
                               16
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                                       DATED: September 10, 2018        HUNTON AND WILLIAMS LLP
                               18                                       Phillip J. Eskenazi
                                                                        Alexandrea H .Young
                               19
                               20
                               21                                       /s/ Alexandrea H. Young
                               22                                       Alexandrea H .Young
                                                                        Attorneys for Defendant L BRANDS, INC.
                               23                                       HEALTH AND WELFARE BENEFITS
                                                                        PLAN (formerly known and sued as Limited
                               24                                       Brands, Inc. Health and Welfare Benefits
                               25                                       Plan)

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                                                              JOINT RULE 26(f) REPORT
                               4846-1314-9041.2
                                Case 8:15-cv-00736-DOC-DFM Document 1411 Filed 09/10/18 Page 13 of 13 Page ID
                                                                 #:97246


                                 1     DATED: September 10, 2018                 BROWNE GEORGE ROSS LLP
                                                                                 Eric M. George
                                 2                                               Keith J. Wesley
                                 3
                                 4
                                 5                                               /s/ Eric M. George
                                                                                 Eric M. George
                                 6                                               Attorneys for Defendant WEBMD HEALTH
                                                                                 & WELFARE PLAN
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                                       DATED: September 10, 2018                 MAYNARD COOPER & GALE, LLP
                                 9                                               Linda B. Oliver
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                                                                                 FIRE INSURANCE COMPANY
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                               14                                                EMPLOYEE MEDICAL AND DENTAL
                                                                                 EXPENSE BENEFITS PLAN
                               15
                               16      Filer’s Attestation: Pursuant to Local Rule 5-4.3.4(a)(2)(i), Alan E. Kassan hereby
                                       attests that all other signatories listed, and on whose behalf the filing is submitted,
                               17      concur in the filing’s content and have authorized the filing.
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                                                                     JOINT RULE 26(f) REPORT
                               4846-1314-9041.2
